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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                          ALEXANDRIA DIVISION

 GABRIEL MAIYILI NDONYI,                CIVIL ACTION NO. 1:20-CV-558-P
 Petitioner

 VERSUS                                 JUDGE DRELL

 DEPT. OF HOMELAND                      MAGISTRATE JUDGE PEREZ-MONTES
 SECURITY,
 Respondent


                             MEMORANDUM ORDER

      Before the Court is a Petition for Writ of Habeas Corpus under 28 U.S.C. §

2241 (ECF No. 1) filed by pro se Petitioner Gabriel Maiyili Ndonyi (“Ndonyi”). Ndonyi

is a detainee in the custody of the Department of Homeland Security (“DHS”) and

Bureau of Immigration and Customs Enforcement (“ICE”), presently detained at

LaSalle Correctional Center in Jena, Louisiana.

      Because Ndonyi alleges that he is being subjected to indefinite detention in

violation of his constitutional rights, his Petition (ECF No. 1) should be SERVED on

the Government.

I.    Background

      Ndonyi is a native and citizen of Camaroon. ECF. No. 1-1 at 1. He entered the

United States on March 10, 2017, seeking protection from persecution and torture in

his home country. ECF No. 1-1 at 1. Ndonyi has been in ICE custody since that

date—over three years.

      On December 20, 2018, an immigration judge denied Ndonvi’s application for

asylum, withholding of removal, and protection under the Convention Against
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Torture, 8 U.S.C. §§ l158(b)(l)(A), 1231(b)(3)(A); 8 C.F.R. §§ 1208.16(c), 1208.18. ECF

No. 1-2 at 4. Ndonvi’s appeal was ultimately dismissed in September 2019. Id. at 4-

6. Ndonvi has filed multiple motions to reopen his immigration proceedings, although

it is unclear whether any of those motions remain pending. ECF No. 1-2 at 7, 33.

Ndonvi also filed a petition for review in the United States Court of Appeals for the

Fifth Circuit, which is pending. ECF No. 1-2 at 25. The Fifth Circuit denied Ndonvi’s

request to stay his removal pending review. (Case No. 19-60782, 5th Cir. (3/19/20)).

      Ndonvi alleges that his continued detention violations the United States

Constitution.

II.   Service of Process

      To determine whether Ndonvi is entitled to any relief:

      THE CLERK IS DIRECTED to serve a summons, a copy of the Petition (ECF

No. 1), and a copy of this Order, by certified mail, on the United States through the

United States Attorney for the Western District of Louisiana, the United States

Attorney General, DHS/ICE through its Director, and the Warden of the LaSalle

Correctional Center.

      IT IS ORDERED that Respondents file an answer to the Petition (ECF No. 1)

within 60 days following the date of service. In the answer, Respondents shall provide

the Court with summary judgment evidence indicating whether Petitioner’s order of

removal is final, whether there is a significant likelihood of removal in the reasonably

foreseeable future, and whether Petitioner’s detention is otherwise lawful. This

evidence shall include information regarding the length of time that he has been in



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custody, the date on which his removal order became final, any administrative

decisions relating to Petitioner’s request for bond, and all documents relevant to the

efforts made by the immigration officials to obtain travel documents for Petitioner.

      Respondents shall also file a memorandum of law briefing the issues raised in

the answer and citing applicable statutory and case law.

      IT IS FURTHER ORDERED that Petitioner shall have 30 days following the

filing of Respondents’ answer to produce contradictory summary judgment evidence

on the issue of the lawfulness of his detention.

      All documentary exhibits MUST HAVE PROPERLY NUMBERED PAGES.

An index describing each item attached to the response and showing each item’s page

number shall also be attached.

      FINALLY, IT IS ORDERED that, as a condition to their acceptance by the

Clerk, all future filings by Petitioner and Respondents shall include a certificate

stating that a copy thereof has been mailed to all other parties.

      After the record is complete and all delays have run, the Court will determine

if genuine issues of material fact exist, which preclude summary judgment and

necessitate an evidentiary hearing. If no hearing is necessary, a Report and

Recommendation will be issued without further notice.

      THUS DONE AND SIGNED in Alexandria, Louisiana, on this 15th day of

May 2020.

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                                        JOSEPH H.L. PEREZ-MONTES
                                        UNITED STATES MAGISTRATE JUDGE



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